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 1
                                                                Honorable Jamal N. Whitehead
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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     VALVE CORPORATION                              Case No. 2:23-cv-01016
 8
                                Plaintiff,
 9         v.                                        DEFENDANTS’ REPLY IN SUPPORT OF
                                                     DEFENDANTS’ MOTION TO DISMISS
10                                                   PLAINTIFF’S SECOND AMENDED
   LEIGH ROTHSCHILD, ROTHSCHILD
                                                     COMPLAINT FOR DECLARATORY
   BROADCAST DISTRIBUTION SYSTEMS,
11                                                   JUDGMENT
   LLC, DISPLAY TECHNOLOGIES, LLC,
   PATENT ASSET MANAGEMENT, LLC,
12                                                     NOTE ON MOTION CALENDAR:
   MEYLER LEGAL, PLLC, AND SAMUEL
                                                       February 23, 2024
   MEYLER,
13
                                                       ORAL ARGUMENT REQUESTED
14                              Defendants.
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 1 I.        INTRODUCTION

 2           Plaintiff Valve Corporation Second Amended Complaint (Dkt 38; “SAC”) suffers from the

 3 same deficiencies as Plaintiff’s original Complaint (Dkt 1) and Plaintiff’s First Amended

 4 Complaint (Dkt 23; “FAC”) and so should be dismissed under Fed. R. Civ. P 12(b)(1), for lack of

 5 subject matter jurisdiction, and/or under 12(b)(6) for failure to state a claim.

 6 II.       ARGUMENT

 7           A.     There is No Case or Controversy Between Plaintiff and Defendants

 8           Significantly, Plaintiff still does not dispute that the Global Settlement and License

 9 Agreement (“GSLA”) between Plaintiff and Mr. Rothschild includes a covenant not to sue. See

10 SAC at 13, ¶ 67; Dkt 38-6 at § 3.2. That covenant not to sue, in and of itself, completely divests

11 this Court of subject matter jurisdiction over Counts I and II of the SAC. See Super Sack Mfg.

12 Corp. v. Chase Packaging Corp., 57 F.3d 1054, 1059 (Fed. Cir. 1995) (a covenant not to sue in

13 the future for products made, used, or sold in the past removes actual controversy in the present),

14 abrogated on other grounds by MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007);

15 see also Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1346 (Fed. Cir. 2010) (“A covenant not

16 to sue for patent infringement divests the trial court of subject matter jurisdiction over claims that

17 the patent is invalid, because the covenant eliminates any case or controversy between the

18 parties.”). Counts I and II of the SAC should therefore be dismissed with prejudice.

19           Plaintiff again focuses much of the argument in its opposition on whether the terms of the

20 GSLA allow Plaintiff to file suit against Defendants regarding the validity and enforceability of

21 U.S. Patent No. 8,856,221 (“the ‘221 patent”). See Dkt 40 at 1-4. But whether or not the GSLA

22 permits Plaintiff’s action is not the issue here. Instead, this case turns on whether this Court has

23 subject matter jurisdiction over Plaintiff’s claims. And the language of the GSLA, regardless of

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 1 what it may say, cannot trump the Constitutional requirement that there be a justiciable case or

 2 controversy between the parties. Nor can it overcome the long-standing judicial precedent that a

 3 covenant not to sue divests a court of subject matter jurisdiction over claims challenging the

 4 validity and/or enforceability of a patent.

 5          Plaintiff argues “there is a judiciable case or controversy because the June 2023 demand

 6 letter is ‘an explicit threat’ by Defendants that ‘creates a reasonable apprehension on behalf of

 7 [Valve] that it will face an infringement suit’ based on Valve’s ‘present activity’ offering the Steam

 8 app.” Dkt 41 at 2. But Plaintiff has not alleged that it is engaging, or even planning to engage, in

 9 any conduct not covered by the covenant not to sue in the GSLA – and that alone is sufficient to

10 moot any possible case or controversy here. See Already, LLC v. Nike, Inc., 568 U.S. 85, 94-95

11 (2013) (“The case is moot if the court, considering the covenant's language and the plaintiff's

12 anticipated future activities, is satisfied that it is ‘absolutely clear’ that the allegedly unlawful

13 activity cannot reasonably be expected to recur. . . . Given the covenant's broad language, and

14 given that Already has asserted no concrete plans to engage in conduct not covered by the

15 covenant, we can conclude the case is moot because the challenged conduct cannot reasonably be

16 expected to recur.”); see also Asetek Danmark A/S v. Shenzhen Apaltek Co., 2023 U.S. Dist. LEXIS

17 98596, at *12 (NDCA June 6, 2023)(dismissing declaratory judgment counterclaims because

18 defendant “does not show that it plans to engage in further activities that would not be covered by

19 the covenant.”).

20          Moreover, Plaintiff’s claim that it had a “reasonable apprehension” that it would be

21 subjected to a patent infringement lawsuit by Defendants, however, rings hollow when viewed in

22 light of past events. As admitted in the SAC, when it received the June 2023 demand letter, Plaintiff

23 knew that all it had to do was send a quick email to Mr. Meyler and inform him that the ‘221 patent

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 1 was covered by the GSLA. They had done exactly that in the past. This time, however, Plaintiff

 2 decided to make a federal case out of it and filed the current action, thereby causing both parties

 3 to incur legal expenses. The only one responsible for trying to provoke litigation between the

 4 parties here is Plaintiff.

 5          Plaintiff further argues that “Defendant has committed material breaches of the GSLA no

 6 less than three times in approximately a year.” Dkt 41 at 3-4. Contrary to Plaintiff’s suggestion,

 7 however, there is nothing in the GSLA that precludes or prohibits either the Falcucci

 8 correspondence or the Meyler letter—neither letter demanded the payment of additional royalties

 9 for patents already licensed and neither letter initiated a patent infringement lawsuit. At best,

10 Plaintiff can point only to the lawsuit by Display Technology (“DT”) involving U.S. Patent

11 9,300,723 (“the ‘723 patent”), which was immediately dismissed after Plaintiff informed DT that

12 the ‘723 patent was subject to their existing license. That Plaintiff apparently had to review the

13 GSLA to confirm this fact is not Defendants’ fault.

14          To the extent Plaintiff points to Defendants’ statements in the Joint Status Report (Dkt 28,

15 ¶ II.5) regarding infringement of the ‘221 patent, as Plaintiff is aware, such a claim will only be

16 made if the Defendants’ motion to dismiss is denied since, at that time, Plaintiff will indisputably

17 be in breach of the GSLA and therefore no longer licensed under the ‘221 patent or any other

18 patent subject to the GSLA. Otherwise, the covenant to sue will remain in effect.

19          Finally, the cases cited by Plaintiff in its opposition are irrelevant to the present case simply

20 because none of them involved an express covenant not to sue between the parties. As noted above,

21 it has been well-settled for many years that a covenant not to sue divests a court of subject matter

22 jurisdiction over Plaintiff’s patent claims. Super Sack Mfg. Corp., 57 F.3d at 1059; Dow Jones &

23 Co., 606 F.3d at 1346. Plaintiff’s cases do not compel a different finding here.

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 1          For at least these reasons, and those set forth in Defendants’ motion to dismiss (Dkt 40),

 2 Counts I and II of the SAC should be dismissed. Moreover, because there are no additional facts

 3 that Plaintiff could possibly allege which would provide this Court with subject matter jurisdiction

 4 over Plaintiff’s claims, any attempted further amendment of the SAC by Plaintiff would be futile.

 5 Counts I and II of the SAC should therefore be dismissed with prejudice.

 6          B.      Plaintiff Fails to Adequately Allege Breach of Contract

 7          As noted above, there is nothing in the GSLA that precludes or prohibits the sort of

 8 correspondence represented by the Falcucci email and Mr. Meyler’s letter. See generally Dkt 38-

 9 6 at pp. 4-11. Rather, as shown by the plain language of the agreement itself, the GSLA only

10 prohibits the bringing of a lawsuit by Rothschild or DT. See id. at § 3.2. And it is indisputable

11 neither Rothschild nor DT initiated this lawsuit – that was solely and exclusively Plaintiff’s

12 responsibility. See, e.g., Dkt 1.

13          Moreover, as can be seen from the text thereof, the Falcucci email attached to the SAC

14 made no demand for any payment whatsoever, much less for patents that were subject to the

15 GSLA. See Dkt 38-5. Rather, the Falcucci email merely offered Valve the opportunity to obtain a

16 license to “a number of valuable patent assets [that PAM had acquired] in the past few years.” Id.

17 Another Falcucci email, referenced in Plaintiff’s letter to Meyler, made a similar offer: “Our

18 company has acquired a number of valuable patent assets in the past few years, and I’d like to

19 propose a renewed agreement that includes our new inventory.” Dkt 38-6 at 2 (emphasis added).

20          Similarly, Mr. Meyler letter made no demand for any payment from Valve. See Dkt 38-8.

21 Rather, Mr. Meyler letter asked whether “Valve would like to explore a potential resolution to

22 the[] claims [of infringement]” being asserted by Mr. Meyler’s clients, including Defendant

23 Rothschild Broadcast Distribution Systems (“RBDS”). See Dkt. 38-8. And, as past history shows,

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 1 such a resolution would have involved RBDS withdrawing its claims of infringement, just as DT

 2 had done when informed that the asserted patent was covered by the GSLA.

 3          The SAC therefore fails to contain sufficient facts to support Plaintiff’s claim for breach of

 4 contract against any of the Defendants. Count III should be dismissed.

 5          Plaintiff attempts to avoid this deficiency by pointing to Plaintiff’s allegation in the SAC

 6 that Mr. Meyler’s letter constituted a demand for payment--and so represented a breach of the

 7 GSLA—and arguing that this Court must accept that allegation as true. See Dkt 41 at 5. Plaintiff,

 8 however, apparently fails to appreciate that both Mr. Meyler’s letter and the Falcucci email were

 9 attached as exhibits to the SAC, and so are properly considered by the Court in deciding

10 Defendants’ motion to dismiss. See, e.g., Stoltenberg v. Clark, 2023 U.S. Dist. LEXIS 70402, *2-

11 3 (D. Alaska April 21, 2023) (“Generally, a court resolves a motion under 12(b)(6) only on the

12 pleadings before it. However, two exceptions exist where a court may look beyond the pleadings

13 without converting the motion to dismiss into a motion for summary judgment. First, a document

14 may be incorporated by reference, if ‘(1) the complaint refers to the document; (2) the document

15 is central to the plaintiff's claim; and (3) no party questions the authenticity of the copy attached

16 to the 12(b)(6) motion.’”) (internal citations omitted). A court “may treat such a document as ‘part

17 of the complaint, and thus may assume that its contents are true for purposes of a motion to dismiss

18 under Rule 12(b)(6).’” Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006) quoting United States

19 v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

20          With respect to Plaintiff’s allegations of anticipatory breach, Plaintiff does not dispute that

21 Defendants would have promptly dismissed any lawsuit that might have been brought in error.

22 Indeed, the SAC admits that Defendants did exactly that when such an error occurred in the past.

23 Dkt 38 at ¶¶ 22-24. Plaintiff has alleged no facts to even suggest that Defendants might have acted

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 1 differently in the future, much less offered any evidence that they would do so. Rather, Plaintiff

 2 apparently feels it should not have to be burdened with having to remind Defendants of which

 3 patents are covered by the GSLA. But inconvenience to Plaintiff, even to the extent it exists, does

 4 give rise to a claim for anticipatory breach.

 5          Count III of the SAC should therefore be dismissed.

 6          C.     Defendants Did Not Violate Washington’s Patent Troll Prevention Act

 7          Plaintiff argues that Defendants are improperly asking the Court to evaluate evidence at

 8 this stage of the proceedings. This is not correct; Defendants are merely asking the Court to ignore

 9 irrelevant and immaterial evidence.

10          In its attempt to tarnish Defendants’ image before the Court, Plaintiff improperly attempts

11 to broaden the scope of the inquiry under RCW 19.350 to include patent(s) that are unrelated to

12 the patents that were identified in Mr. Meyler’s letter of June 2023. Those other patents are not

13 part of the same family as any patent identified by Mr. Meyler (i.e., they are not continuations or

14 divisions thereof), nor are they owned by the entity or entities. Accordingly, they are wholly

15 irrelevant to the question of whether Mr. Meyler’s letter of June 2023 was a bad faith assertion of

16 infringement.

17          Factor (f) of Washington’s Patent Troll Prevention Act expressly relates to a finding about

18 the merits a previous threat of litigation “based on the same or substantially equivalent assertion

19 of patent infringement.” RCW 19.350.020(2)(f) (emphasis added). Plaintiff, however, does not

20 deny that it has made no allegations relating to litigation (or a threat of litigation) involving any

21 the patents identified in Mr. Meyler’s letter of June 2023. See Dkt 38 at ¶ 89. Factor (f) therefore

22 does not support a finding of bad faith on the part of Defendants. And all of Plaintiff’s allegations

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 1 relating to other litigations involving one of more of the Defendants in paragraph 89 of the SAC

 2 should be ignored.

 3          Plaintiff also continues to conflate a clear clerical error, which could have been readily

 4 rectified by a simple email, with a “bad faith” assertion of patent infringement. Plaintiff was well

 5 aware that Defendants would not pursue litigation once apprised of their error. That should not

 6 rise to the level of bad faith under any standard.

 7          D.      Plaintiff’s Complaint Fails to State a Claim Against Meyler Legal and Samuel
                    Meyler
 8
            If allowed to proceed, Plaintiff’s claims against Meyler Legal and Samuel Meyler
 9
     (collectively “the Meyler Defendants”) will have a substantial chilling effect on the sending of
10
     demand letters prior to filing litigation. Any attorney sending a demand letter in anticipation of
11
     imminent litigation will have to anticipate the likelihood of getting sued, and, in every one of those
12
     cases, the party asserting the claims against their opponent’s attorney will be moving the court for
13
     an order directing the attorney to disclose information that is subject to attorney-client privilege.
14
     The only alternative will be to forego prelitigation demands, which is likely to significantly
15
     increase the amount of litigation, and consequently the burden on the judicial system, involving
16
     cases that may have been settled if demand letters had been sent prior to litigation.
17
            In response to Defendants’ comments regarding the June 2023 demand letter, Plaintiff
18
     argues, “[n]or did Defendants identify any connection to any actual judicial proceeding that these
19
     communications were allegedly related to.” Dkt. 41 at 15. This is not correct; reference to
20
     Defendants’ motion shows that Defendants identified both Social Positioning Input Systems, LLC
21
     v. Valve Corporation, et al., Case No. 2:23-cv-00422 (ED Tex.) and Quantum Technology
22
     Innovations, LLC v. Valve Corporation, et al., Case No. 2:23-cv-00425 (ED Tex.). Further, RBDS
23
     is a party to the present action before the Court and Plaintiff’s claims center around the very
24
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 1 communication that Plaintiff now tries to argue is unrelated to a judicial proceeding. The mere fact

 2 that the complaints in those matters were filed after Plaintiff filed its original Complaint (Dkt 1)

 3 does not mean that the communications are unrelated to those actions.

 4          Plaintiff also argues that Defendants cite two cases that do not support Defendants’

 5 position, but Plaintiff misrepresents the citation they reference. Defendants’ citation is to the

 6 Restatement of Torts 2d, § 586 (“communications preliminary to a proposed judicial proceeding

 7 . . . or . . . as a part of a judicial proceeding.”). See Dkt. 40 at 18 (emphasis added). The two cases

 8 that Plaintiff references, Engelmohr v. Bache, 66 Wn.2d 103, 104-05, 401 P.2d 346 (1965) and

 9 Demopolis v. Peoples Nat. Bank of Washington, 59 Wn. App. 105, 109–10, 796 P.2d 426, 429

10 (1990), are not actually quoted directly by Defendants, but instead are cited as evidence of the

11 adoption of § 586 by Washington courts.

12      Plaintiff further argues that Engelmohr does not support the extension of the litigation privilege

13 but, again, Plaintiff misrepresents the purpose of the citation.             Further, Engelmohr is

14 distinguishable because it did not involve a claim against an attorney at all. Plaintiff is correct

15 about the fact that the litigation privilege was not extended but omits the fact that the privilege was

16 not extended in that case to non-attorney defendants for defamatory statements made in a non-

17 quasi-judicial administrative proceeding. Id. at 103.

18      Likewise, Defendants cite Demopolis for its explanation of the litigation privilege and adoption

19 of the Restatement:

20          This privilege encompasses extrajudicial “pertinent” statements. Restatement,
            supra § 586 comment a; Annot., Libel and Slander: Attorneys' Statements, to
21          Parties Other Than Alleged Defamed Party or its Agents, in Course of Extrajudicial
            Investigation or Preparation Relating to *110 Pending or Anticipated Civil
22          Litigation as Privileged, 23 A.L.R.4th 932, 940–946 (1983); cf. Story, 52
            Wash.App. at 340–41, 760 P.2d 368 (extending absolute privilege for statements
23          made during the course of quasi-judicial administrative proceedings to statements
            made during the proceedings' investigatory phase). Thus, the fact that Hermsen's
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 1            defamatory statement was made outside the courtroom does not necessarily prevent
              him from asserting the privilege.
 2
     Demopolis, 59 Wn. App. At 109–10, 796 P.2d at 429.1
 3
              This case involves a private letter sent by an attorney on behalf of his clients to in-house
 4
     counsel for the Plaintiff. The litigation privilege is applicable and protects the Meyler Defendants
 5
     from this retaliatory lawsuit. Plaintiff’s claims against the Meyler Defendants should be
 6
     dismissed.
 7
              Plaintiff argues that the litigation privilege does not apply to a private communication
 8
     between two parties when there is no litigation pending.           The law, however, is clear in
 9
     Washington. “This privilege encompasses extrajudicial ‘pertinent’ statements.” Demopolis at
10
     109 (citing Restatement, § 586 comment a).
11
              Washington courts have repeatedly recognized that the litigation privilege, in varying
12
     contexts, is applicable to extrajudicial communications, including “communications preliminary
13
     to a proposed judicial proceeding . . ..” Twelker v. Shannon & Wilson, Inc., 88 Wn.2d 473, 475,
14
     564 P.2d 1131, 1133 (1977) (citing Restatement of Torts, § 588 at 233 (1938)); Deatherage v.
15
     State, Examining Bd. of Psychology, 134 Wn.2d 131, 135, 948 P.2d 828, 830 (1997) (citing
16
     Restatement of Torts 2d § 588 (1977)); see also Krouse v. Bower, 20 P.3d 895, 899 (Utah 2001)
17
     (“Because the purpose of the privilege is to promote the resolution of disputes, it should be
18

19
     1
20  Plaintiff does correctly note that the litigation privilege in Demopolis was not extended to protect
   a defamatory statement made outside the courtroom, but the facts in that case are distinguishable.
21 The court found that an extrajudicial defamatory statement was not “pertinent” where the
   defendant asserting the litigation privilege had disseminated an outright lie to third parties.
22 Specifically, the defendant misrepresented to third parties that Demopolis was a felon who had,
   “been convicted of perjury…” when it was “undisputed that Demopolis has never been charged
23 with, nor convicted of, perjury.” Demopolis, 59 Wn. App. at 107. Based on this, Demopolis
   brought a claim for defamation.
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 1 interpreted to encourage this end. It therefore follows that the privilege must also encourage

 2 candid, forthright settlement communications that take place prior to the filing of [a] suit.”);

 3 Buckhannon v. U.S. West Communications, Inc., 928 P.2d 1331, 1334 (Colo. Ct. App. 1996)

 4 (finding conduct “preliminary to a proposed judicial proceeding... related to the proceeding, and

 5 [] thus absolutely privileged.”); Cummings v. Kirby, 343 N.W.2d 747, 748-49 (Neb. 1984)

 6 (holding attorney absolutely immune from suit for calling a trial witness a “crook” after verdict

 7 was rendered); Prokop v. Cannon, 583 N.W.2d 51 (Neb. Ct. App. 1998) (finding statements to

 8 press after lawsuit dismissed protected); Seltzer v. Fields, 244 N.Y.S.2d 792 (N.Y. App. Div.

 9 1963) (holding that privilege applies to communications that are relevant now or in the future),

10 aff’d, 198 N.E.2d 3 (N.Y. 1964).

11          Plaintiff also argues that the litigation privilege should not apply in the context of

12 Washington’s Patent Troll Prevention Act except to statements made during an active litigation.

13 See Dkt. 41 at 16. Such a finding by this Court, however, would have a devastating chilling effect

14 on the ability of patent owners and their counsel to communicate about licensing their patent

15 rights as well as potentially enforcing, and is neither warranted nor necessary.

16          Finally, Plaintiff argues that there is a lack of safeguards to protect the Plaintiff from the

17 Meyler Defendants. See Dkt. 41. This is untrue. As Plaintiff alleges in the SAC, the Meyler

18 Defendants are “bound by the Washington State Rules of Professional Conduct[.]” Dkt. 38 at ¶

19 89. In at least this respect, Plaintiff is correct, and this defeats Plaintiff’s argument that there are

20 no safeguards. Plaintiff could have, and still can, file a complaint with the Washington State Bar

21 if Plaintiff truly believes that any of the Meyler Defendants violated the Rules of Professional

22 Conduct. A threat to Mr. Meyler’s license to practice law is perhaps the strongest possible

23 safeguard that there is, but Plaintiff and its attorneys conveniently ignore this. Safeguards might

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 1 be a legitimate concern in the context of non-attorney, prelitigation communications, but there

 2 are always safeguards in place for licensed attorneys and judges that are subject to disciplinary

 3 action by the Bar.

 4         Plaintiff’s claims against the Meyler Defendants should therefore be dismissed.

 5         E.      Plaintiff is not Entitled to Any Damages

 6         Plaintiff attempts to re-write paragraph 9.5 of the GLSA to insert the words “compliance

 7 with” into the text so that it reads: “arising out of, or in connection with, compliance with this

 8 Agreement.” As can be seen from the document itself, however, no such limitation exists in

 9 paragraph 9.5 of the GSLA.

10         Plaintiff’s Complaint therefore fails to state facts sufficient to show that Plaintiff is entitled

11 to any of the damages it seeks.

12 III.    CONCLUSION

13         For at least the reasons above and those set forth in Defendants’ Motion to Dismiss (Dkt

14 27), Plaintiff’s FAC and SAC should be dismissed in their entirety.

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 1            I certify that this memorandum contains 3957 words, in compliance with the Local Civil
     Rules.
 2

 3 Dated: February 23, 2024                       Respectfully submitted,

 4
                                                  By: /s/ Matthew J. Cunanan
 5                                                   Matthew J. Cunanan (#42530)
                                                     DC LAW GROUP
 6                                                   12055 15th Ave NE, Suite B
                                                     Seattle, WA 98125
 7                                                   Tel: (206) 494-0400
                                                     Fax: (855) 494-0400
 8                                                   Email: matthew@dclglawyers.com

 9                                                    Donald R. McPhail (admitted phv)
                                                      1940 Duke Street
10                                                    Alexandria, Virginia 22314
                                                      Tel: (703) 412-1432
11                                                    Fax: (703) 413-2220
                                                      Email: dmcphail@oblon.com
12
                                                      Attorneys for Defendants Leigh Rothschild,
13                                                    Rothschild Broadcast Distribution Systems,
                                                      LLC, Display Technologies, LLC, Patent Asset
14                                                    Management, LLC, Meyler Legal, PLLC, and
                                                      Samuel Meyler
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